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11 Attorneys for Plaintiff
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12

13                              UNITED STATES DISTRICT COURT

14                              EASTERN DISTRICT OF CALIFORNIA

15                                     FRESNO DIVISION

16 MICHELLE MOORE LLC,
                                                    COMPLAINT
17             Plaintiff,
                                                    Case No.
18
               v.
19
   TOVES CLIMO LLC, TOVES INDUSTRIES
20 LLC, MARC TOVES, and RICHARD
   CLIMO,
21
               Defendants.
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 1            Plaintiff, Michelle Moore LLC, by and through its attorneys, and for its Complaint,

 2 alleges:

 3                                                 THE PARTIES

 4            1.        Plaintiff, Michelle Moore LLC (“Plaintiff”), is California limited liability

 5 company with a business address in Columbia, Missouri. All members of Plaintiff are residents

 6 of the State of Missouri. Plaintiff is a master franchisee of Bober Franchises PTE, LTD.

 7            2.        Defendant, Marc Toves (“M. Toves”), is an individual and principal of Toves

 8 Climo LLC. M. Toves resides in Sacramento, California.

 9            3.        Defendant, Richard Climo (“R. Climo,” collectively M. Toves the “Individual

10 Defendants”), is an individual and principal of Toves Climo LLC. R. Climo resides in

11 Sacramento, California.

12            4.        Defendant, Toves Industries LLC, is a California limited liability company

13 incorporated with a business address in Sacramento, California (TI LLC”). All members of TI

14 LLC are residents of the State of California.

15            5.        Defendant, Toves Climo LLC, is a California limited liability company

16 incorporated with a business address in Sacramento, California (“TC LLC”, collectively with

17 TI LLC, M. Toves, and R. Climo “Defendants”). All members of TC LLC are residents of the

18 State of California.

19                                       JURISDICTION AND VENUE

20            6.        This Court has original jurisdiction pursuant to 28 U.S.C. § 1332 because the amount

21 in controversy exceeds $75,000 and is between citizens of different states. This Court also has

22 original subject matter jurisdiction pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C. § 1338(a) as to

23 claims asserted under the Lanham Act, 15 U.S.C. § 1051, et seq. This Court also has original

24 jurisdiction over the claim of unfair competition pursuant to 28 U.S.C. § 1338(b).

25            7.        This Court also has original subject matter jurisdiction as to the claims other than

26 those based on the Lanham Act, under 28 U.S.C. § 1367, because those claims are so related to the
27 claims brought under the Lanham Act that they form a part of the same case or controversy.

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 1            8.        Further, an actual, justiciable controversy now exists between the parties, and the

 2 requested relief is proper under 28 U.S.C. §§ 2201-2202.

 3            9.        Venue is appropriate in this district under 28 U.S.C. § 1391(b) because a substantial

 4 part of the events or omissions giving rise to the claim occurred in this district, and the defendants

 5 are subject to the court’s jurisdiction with respect to this action in this district.

 6                                         FACTUAL ALLEGATIONS

 7 The Bober Tea Business System and Trademarks

 8            10.       Bober Tea is an established retail beverage outlet chain offering bubble tea and mochi

 9 donuts to the general public, operated by Plaintiff throughout the United States.

10            11.       Plaintiff licenses others to use its federally-registered trademark, the stylized design

11 logo associated with MOCHI DOUGH PREMIUM JAPANESE DONUTS that is the subject of U.S.

12 Trademark Registration Number 97202987 (the “Mochi Dough Mark”) in the sale of goods and

13 services associated with certain approved products and supplies.

14            12.       Further, through an agreement with Bober California Franchises PTE, LTD, Plaintiff

15 licenses others the right to use the Bober Tea franchise System.

16            13.       Through the use of time, skill, effort, and money, Plaintiff is the owner and has

17 developed the Mochi Dough Mark, which has been used in the development, organization, and

18 operation of a System of retail beverage outlets offering bubble tea and mochi donuts to the general

19 public.

20            14.       Plaintiff has entered into franchise agreements for the right to sell certain products

21 and services utilizing the Mochi Dough Mark at various locations throughout the United States.

22            15.       Plaintiff consists of the manner in which the franchisee is licensed to offer and sell

23 certain products, and certain other trade secrets and proprietary information, as designated and

24 adopted by Plaintiff.

25            16.       Plaintiff goes to great lengths to keep its trade secrets and proprietary information

26 secret and out of the hands of the general public.
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 1            17.       Plaintiff has developed the Mochi Dough Mark for use in the operation of licensed

 2 Bober Tea businesses, which include the following trademark, which has been registered on the

 3 Principal Register of the United States Patent and Trademark Office (“USPTO”):

 4                               Mark                               Registration No.       Registration Date

 5

 6
                                                                        97202987            October 8, 2024
 7

 8

 9
              18.       The foregoing registration is valid, subsisting, in full force and effect, and covers the
10
     goods and services identified in the registration certificates. The registration is incontestable under
11
     the Lanham Act, 15 U.S.C. § 1065. A copy of the certificate of registration for the Mochi Dough
12
     Mark is attached hereto as Exhibit A.
13
              19.       The Mochi Dough Mark has been used exclusively by Plaintiff, and its designated
14
     licensees, in commerce in connection with the operation of Bober Tea businesses since December
15
     2022. Since that time, the Bober Tea brand has grown to over twenty-seven (27) locations in
16
     multiple states (including Defendants’ locations in Martinez, California, Roseville, California, and
17
     Stockton, California).
18
              20.       The Mochi Dough Mark has become a valuable asset of substantial and inestimable
19
     worth to Plaintiff. The Mochi Dough Mark is a symbol of quality experience served by Bober Tea.
20
     Plaintiff has a vital economic interest in protecting its name and the Mochi Dough Mark. The
21
     preservation and protection of its name and the Mochi Dough Mark is essential to the maintenance
22
     of the quality of Bober Tea business, and the goodwill and reputation associated with them.
23
     Defendants Entered into the Franchise Agreement and Received Substantial Training,
24
     Operating Assistance, and Ongoing Support for the Martinez Location
25
              21.       On or about May 23, 2022, Plaintiff and TC LLC entered into franchise agreements
26
     through which Defendants, jointly and/or severally, would operate Bober Tea franchises in
27
     Martinez, California and Roseville, California (the “First Agreements”).
28

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 1            22.       Plaintiff and TI LLC subsequently entered into an arrangement whereby Defendants

 2 would operate the Bober Tea franchise in Stockton, California (the “Stockton Agreement”,

 3 collectively with the First Agreements the “Franchise Agreements”).

 4            23.       The Franchise Agreements were personally guaranteed by the Individual Defendants

 5 (the “Personal Guaranties”).

 6            24.       The Individual Defendants underwent Plaintiff’s training program in Sacramento,

 7 California in or about Summer 2022. At that time, Plaintiff provided the Individual Defendants

 8 access to its Operations Manual (the “Manual”), which contained the operating instructions and

 9 additional information relevant to the operation of the business. This included, but was certainly not

10 limited to, recipes.

11            25.       After that time, Plaintiff provided ongoing training, support (including in-person

12 training in each location), and guidance to Defendants, who operated Bober Tea locations in

13 Martinez, California, Roseville, California, and Stockton, California (the “Formerly-Franchised

14 Businesses”).

15            26.       Thereafter, Plaintiff provided Defendants with significant financial support,

16 including:

17                      a.     Loaning $50,000 to TC LLC for the operation of the Martinez location (the

18 “Martinez Loan”);

19                      b.     Investing $430,000 in the Stockton location;

20                      c.     Providing Defendants with nearly $100,000 in inventory for the Roseville

21 location and having to cover unpaid rent for the Roseville location;

22                      d.     Providing Defendants with over $45,000 in inventory for the Stockton

23 location; and

24                      e.     Providing Defendants with payroll advances and rent payments for the

25 Martinez location.

26            27.       As of the date of this filing, none of the aforementioned financial contributions from
27 Plaintiff have been repaid by Defendants.

28 ///

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 1 Default and Termination of the Franchise Agreements

 2            28.       Since at least February 2024, Defendants became in default of the Franchise

 3 Agreement in that, among other things, Defendants failed to submitted sales data. Additionally,

 4 since at least June 2024, Defendants became in default of the Franchise Agreement in that, among

 5 other things, Defendants failed to pay monthly royalties for the month of May 2024 for any of the

 6 Formerly-Franchised Businesses.

 7            29.       Defendants’ failure to pay royalties persisted for ten (10) months thereafter,

 8 culminating in Plaintiff sending a Notice of Default to TC LLC, through then-counsel, on February

 9 11, 2025, advising them of their various defaults under the Franchise Agreements, and providing

10 them with a limited opportunity to cure (the “Default Notice”).

11            30.       Defendants failed to cure the enumerated defaults within the time set forth in the

12 Franchise Agreements, while also failing to pay royalties for the months of March and April 2025.

13            31.       As such, on April 20, 2025, Plaintiff sent Defendants a Notice of Termination which,

14 effective immediately, terminated the Franchise Agreement associated with the Martinez Location,

15 while also reminding Defendants of their post-termination obligations under the Franchise

16 Agreements (the “Termination Notice”).

17            32.       Notwithstanding the Termination Notice, Defendants have continued operating the

18 Martinez and Stockton Formerly-Franchised Businesses using the Mochi Dough Mark and/or the

19 Bober Tea System (as defined in the Franchise Agreement) without Plaintiff’s authorization, such

20 as:

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 1            33.       In addition to failing to deidentify pursuant to the Franchise Agreements, Defendants

 2 removed a large amount of inventory and equipment from the Roseville location after receiving the

 3 Termination Notice.

 4            34.       Pursuant to Section 15 of the Franchise Agreements, Defendants expressly agreed

 5 that, upon termination of the Franchise Agreements, they would (among other things) (i) cease to

 6 operate the Formerly-Franchised Businesses; (ii) make full and immediate payment to Plaintiff for

 7 all amounts due; (iii) return to Plaintiff all property belonging to Plaintiff; and (iv) cease to display

 8 any signs, logos, symbols related to Bober Tea or Mochi Dough (the “Post-Termination

 9 Obligations”).

10            35.       As a result of the valid termination of the Franchise Agreements, and pursuant to the

11 Personal Guaranties thereof, Defendants are required to abide by the post-termination obligations

12 of the Franchise Agreements.

13            36.       As of the date of this filing, Defendants are intending to continue operating the

14 Formerly-Franchised Businesses, using the Mochi Dough Mark and Bober Tea System, in violation

15 of the Post-Termination Obligations.

16            37.       Defendants’ failure to abide by the Post-Termination Obligations required under the

17 Franchise Agreements, and continued use of the Mochi Dough Mark and Bober Tea System, in

18 connection with the operation of boba tea cafés at the sites of the Formerly-Franchised Businesses

19 has caused, and is continuing to cause, irreparable harm.

20            38.       As this is an exceptional case of trademark infringement based upon Defendants’

21 deliberate, willful, and bad faith acts of infringement, Plaintiff is entitled to recover its attorneys’

22 fees under 15 U.S.C. § 1117(a).

23            39.       Defendants have not voluntarily ceased their unlawful acts, thus necessitating the

24 present lawsuit.

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 1                                        COUNT I:
                        TRADEMARK INFRINGEMENT, UNFAIR COMPETITION,
 2                            AND FALSE DESIGNATION OF ORIGIN
 3                                   (15 U.S.C. § 1125(a) and Common Law)

 4            40.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 39 hereof.

 5            41.       Plaintiff has spent substantial sums to promote, and has generated substantial revenue

 6 and recognition from, the Mochi Dough Mark, which is distinctive.

 7            42.       The distinctive Mochi Dough Mark has become impressed upon the minds of the

 8 trade and public and identifying Bober Tea products and services, as part of a national franchise,

 9 and consumers understand that Mark and logos to indicate the source or origin of such products and

10 services provided in connection with boba tea and mochi donut cafes.

11            43.       Plaintiff has developed a large and valuable franchise system through its use of the

12 Mochi Dough Mark, and the reputation and goodwill in that Mark is of great value to Plaintiff.

13            44.       Defendants have used in commerce the Mochi Dough Mark without Plaintiff’s

14 consent or authorization.

15            45.       Such use of the Mochi Dough Mark is likely to confuse consumers into believing

16 that Defendants and their cafés are associated with, endorsed by, or sponsored by, Plaintiff when

17 they are not.

18            46.       Defendants’ conduct constitutes false designation of origin, and unfair competition,

19 in violation of the Lanham Act, 15 U.S.C. § 1125(a), and common law.

20            47.       As a result of Defendants’ willful and intentional acts, Plaintiff has incurred

21 attorneys’ fees and expenses.

22            48.       Defendants have caused and, unless restrained by this Court, will continue to case,

23 irreparable harm, damage, and injury to Plaintiff.

24            49.       Plaintiff has no adequate remedy at law.

25                                              COUNT II:
                                        TRADEMARK INFRINGEMENT
26                                           (15 U.S.C. § 1114)
27
              50.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 49 hereof.
28

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 1             51.      Plaintiff owns a federal registration for the Mochi Dough Mark in connection with

 2 its café services, namely, U.S. Reg. No. 97202987 (the “Registration”).

 3             52.      The Registration serves as prima facie evidence of the validity of the registered Mark

 4 and of Plaintiff’s exclusive right to use the Mark in commerce pursuant to 15 U.S.C. § 1115(a).

 5             53.      Defendants have used a colorable imitation of the registered Mark in connection with

 6 the sale, offering for sale, distribution, and advertising of foods and services in a manner likely to

 7 cause confusion, or to cause mistake, or to deceive.

 8             54.      Defendants’ conduct constitutes trademark infringement in violation of Section 32 of

 9 the Lanham Act, 15 U.S.C. § 1114.

10             55.      Defendants’ willful and intentional actions have caused, and unless restrained by this

11 Court, will continue to cause irreparable harm and injury to Plaintiff.

12             56.      Plaintiff has no adequate remedy at law.

13                                                COUNT III:
                                            TRADEMARK DILUTION
14
                                              (15 U.S.C. § 1125(c))
15

16             57.      Plaintiff realleges and incorporates by reference Paragraphs 1 through 56 hereof.

17             58.      The Mochi Dough Mark is a famous trademark under Section 43(c) of the Lanham

18 Act, 15 U.S.C. § 1125(c).

19             59.      Defendants’ action and conduct, as set forth herein, constitute dilution of the famous

20 Mark under Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

21             60.      Plaintiff is entitled to injunctive relief under Section 43(c)(1) of the Lanham Act, 15

22 U.S.C. § 1125(c)(1).

23             61.      As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff has

24 suffered and will continue to suffer irreparable damage to reputation and goodwill for which it has

25 no adequate remedy at law.

26             62.      Pursuant to 15 U.S.C. § 1117, Plaintiff is entitled to recover damages from

27 Defendants caused by their unlawful use of the Mochi Dough Mark, in an amount to be determined

28 at trial.

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 1                                                COUNT IV:
                                            BREACH OF CONTRACT
 2                                             (Injunctive Relief)
 3            63.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 62 hereof.
 4            64.       The First Agreements are valid contracts executed by Plaintiff and TC LLC, as
 5 guaranteed by the Individual Defendants.

 6            65.       The Stockton Agreement is a valid contract executed by Plaintiff and TI LLC, as
 7 guaranteed by the Individual Defendants.

 8            66.       Defendants breached the Franchise Agreements by continuing to use the Mochi
 9 Dough Mark following termination of the Franchise Agreements.

10            67.       Defendants breached the Franchise Agreements by continuing to operate cafés at the
11 site of the Formerly-Franchised Businesses, in violation of the covenants contained in the Franchise

12 Agreements.

13            68.       As a result of Defendants’ willful and intentional actions, the Defendants have caused
14 and, unless restrained and enjoined by this Court, will continue to cause irreparable harm and injury

15 to Plaintiff.

16            69.       Attorneys’ fees and cost are permitted under the Franchise Agreements.
17
                                                 COUNT V:
18                                          BREACH OF CONTRACT
                                               (Monetary Relief)
19

20            70.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 69 hereof.

21            71.       The First Agreements are valid contracts executed by Plaintiff and TC LLC, as

22 guaranteed by the Individual Defendants.

23            72.       The Stockton Agreement is a valid contract executed by Plaintiff and TI LLC, as

24 guaranteed by the Individual Defendants.

25            73.       Plaintiff has performed every obligation and condition required of it under the

26 Franchise Agreements.
27            74.       Under the Franchise Agreements, TC LLC agreed to pay royalties to Bober Tea

28 throughout the term of the Franchise Agreements.

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 1            75.       The Individual Defendants guaranteed TC LLC’s obligations under the Franchise

 2 Agreements, including TC LLC’s obligation to pay royalties.

 3            76.       Defendants have failed to pay royalties for the months of May 2024, through April

 4 2025.

 5            77.       Additionally, Defendants are obligated to pay royalties and other fees through the

 6 remainder of the Franchise Agreements – i.e., through May 2025.

 7            78.       By virtue of Defendants’ failure to pay past and future royalties and other fees owing

 8 under the Franchise Agreements, they have harmed Plaintiff in an amount equal to the past due

 9 royalties, royalties for the month May 2025, plus interest, late fees, attorneys’ fees, and costs

10 incurred by Plaintiff in connection with the collection and enforcement of the Franchise Agreements.

11                                            COUNT VI:
                                   UNJUST ENRICHMENT/RESTITUTION
12

13            79.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 78 hereof.
14            80.       Defendants have knowingly and intentionally misappropriated confidential
15 information in furtherance of their operation of the Formerly-Franchised Businesses from the same

16 locations and using the same recipes, methods of operation, and System.

17            81.       Defendants have used and continue to use the Formerly-Franchised Businesses as a
18 boba tea business and continue to display the Mochi Dough Mark in order to confuse, mislead,

19 and/or deceive others in violation of the Lanham Act.

20            82.       Defendants are parties to the Franchise Agreements, and are aware of contents
21 thereof, such that Plaintiff expects to be compensated, and that Defendants should compensate

22 Plaintiff for use of the Mochi Dough Mark, confidential information, and good will as set forth in

23 the Franchise Agreements.

24            83.       Defendants knowingly retain these benefits, to which they are not rightfully entitled,
25 at the expense and to the damage of Plaintiff.

26            84.       There is no adequate remedy at law that will protect Plaintiff from continued
27 irreparable injury or fully compensate it for the damage caused by Defendants’ wrongful conduct.

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 1                                                 COUNT VII:

 2                                          UNFAIR COMPETITION

 3            85.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 84 hereof.

 4            86.       Defendants have engaged and will continue to engage in illegally using and

 5 displaying the Mochi Dough Mark in violation of the Lanham Act.

 6            87.       Defendants improperly use, and will continue to use, Plaintiff’s confidential

 7 information in furtherance of the operation of the Formerly-Franchised Businesses, which competes

 8 directly with Plaintiff out of the same locations and using the same System as a Bober Tea franchise.

 9            88.       Defendants have and will continue to unfairly profit from using the Mochi Dough

10 Mark and good will to confuse, mislead, and/or deceive current and prospective Bober Tea

11 customers into obtaining goods and services from the Formerly-Franchised Businesses because the

12 locations appear to be Bober Tea franchises though Defendants failed to make any royalty or other

13 payments to Plaintiff.

14            89.       Through their actions, Defendants are intentionally attempting to deceive Plaintiff’s

15 current and prospective customers for Defendants’ business gain.

16            90.       As a direct and proximate result of Defendants’ actions, Plaintiff has suffered and

17 continues to suffer irreparably injury and is entitled to monetary damages in an amount to be

18 determined at trial.

19                                         COUNT VIII:
                           VIOLATION OF THE DEFEND TRADE SECRETS ACT
20

21            91.       Plaintiff realleges and incorporates by reference Paragraphs 1 through 90 hereof.

22            92.       The DTSA provides a private civil action for the misappropriation of trade secrets

23 that are related to a product or service used in interstate or foreign commerce.

24            93.       Plaintiff owns numerous trade secrets, including without limitation, its recipe book.

25 Plaintiff’s trade secrets implicate interstate commerce, and each of the Defendants are engaged in

26 interstate commerce.
27            94.       Throughout Plaintiff’s existence, Plaintiff has carefully developed and refined its

28 trade secrets, which are key ingredients of their continued success.

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 1            95.       Plaintiff’s trade secrets provide independent economic value as Plaintiff use the

 2 confidential information to procure and maintain customers, through competitive pricing and

 3 confidential and proprietary processes and procedures.

 4            96.       Plaintiff’s confidential information is not generally known and is not readily

 5 ascertainable by proper means.

 6            97.       Plaintiff has taken extensive measures to preserve and protect its trade secrets for the

 7 purpose of maintaining its competitive advantage, and only discloses such information to officers,

 8 employees and licensees who have promised to keep the confidential information strictly

 9 confidential to only use it in connection with a Bober Tea business.

10            98.       Plaintiff took steps to prevent disclosure of its confidential information, including,

11 but not limited to mandating those with access sign confidentiality agreements, and preventing its

12 confidential information from being accessed by the public. Defendants have intentionally disclosed

13 Plaintiff’s trade secrets to others for their benefit and/or the benefit of third parties with knowledge

14 that such disclosure would harm Plaintiff.

15            99.       As a direct and proximate result of each of the Defendants’ willful, improper, and

16 unlawful disclosure of Plaintiff’s confidential information, Plaintiff has suffered and will continue

17 to suffer immediate and irreparable harm. Pursuant to 18 U.S.C. § 1836(b)(3)(B), Plaintiff is entitled

18 to recover damages for its actual losses, and to prevent Defendants’ unjust enrichment. Pursuant to

19 18 U.S.C. § 1836(b)(3)(A), the Court should enjoin Defendants’ use and misappropriation of

20 Plaintiff’s confidential information.

21            100.      Each of Defendants’ misappropriation of Plaintiff’s Confidential Information is

22 willful and malicious, thus warranting an award of exemplary damages under 18 U.S.C. §

23 1836(b)(3)(C), and an award of reasonable attorneys’ fees under 18 U.S.C. § 1836(b)(3)(D).

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 1                                                 PRAYER FOR RELIEF

 2            WHEREFORE, Plaintiff requests judgment with each item of this prayer being for relief
 3 additional to, and alternative to each other item and not an election of remedies, as follows:

 4            A.              The entry of a preliminary and permanent injunction prohibiting Defendants and
 5 their respective agents, representatives, servants, employees, attorneys, officers, directors,

 6 shareholders, licensees, affiliates, joint venturers, parents, subsidiaries, related corporations and

 7 companies, and all others in privity or acting in concern with them, from:

 8                        i.         Using the Mochi Dough Mark and logos and any confusingly-similar Mark;
 9                      ii.          Otherwise suggesting that Defendants are affiliates of, sponsored by, or
10 endorsed by Plaintiff;

11                      iii.         Engaging in any other activity constituting unfair competition or trademark
12 infringements;

13                      iv.          Maintaining, using, or disclosing the Operations Manual; and
14                       v.          Assisting, aiding, or abetting another person or business entity in engaging in
15 or performing any of the activities enumerated above.

16            B.              The entry of a preliminary and permanent injunction ordering Defendants to return
17 all Manuals and Confidential Information to Plaintiff;

18            C.              Awarding compensatory and actual damages to be determined at trial;
19            D.              Awarding reasonable attorneys’ fees and costs pursuant to the Lanham Act;
20            E.              Awarding reasonable attorneys’ fees and costs pursuant to the Defend Trade Secrets
21 Act;

22            F.              Awarding interest as allowed by law; and
23            G.              Awarding such other and further relief as the Court deems just and proper.
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 1 Dated: May 7, 2025                   DONAHUE FITZGERALD LLP
                                        Attorneys at Law
 2

 3

 4                                      By:          /s/ Hayley M. Lenahan
                                               Hayley M. Lenahan
 5                                             Dawn Newton
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 6

 7                                             Evan M. Goldman
                                               Thomas Emmons
 8                                             THE FRANCHISE FIRM LLP

 9                                             Attorneys for MICHELLE MOORE LLC
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